      Case 3:17-cv-00561-WHO Document 221 Filed 06/21/18 Page 1 of 40



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 8   Attorneys for Ubiquiti Defendants
     UBIQUITI NETWORKS, INC. and
 9   UBIQUITI NETWORKS INTERNATIONAL
     LIMITED
10
                               UNITED STATES DISTRICT COURT
11                            NORTHERN DISTRICT OF CALIFORNIA
12                                SAN FRANCISCO DIVISION

13
     SYNOPSYS, INC.,                                          Case No. 3:17-cv-00561-WHO
14
                          Plaintiff,                          UBIQUITI NETWORKS, INC.
15                                                            AND UBIQUITI NETWORKS
            v.                                                INTERNATIONAL LIMITED’S
16                                                            ANSWER TO THIRD AMENDED
     UBIQUITI NETWORKS, INC., UBIQUITI
                                                              COMPLAINT
17   NETWORKS INTERNATIONAL LIMITED,
     CHING-HAN DEFENDANT TSAI, and DOES 1-
18                                                            DEMAND FOR A JURY TRIAL
     20,
     inclusive,
19
                          Defendants.
20

21   UBIQUITI NETWORKS, INC. and UBIQUITI
     NETWORKS INTERNATIONAL LIMITED,
22
                          Counterclaimants,
23
            v.
24
     SYNOPSYS, INC.,
25
                          Counterdefendant.
26

27
28

     CASE NO. 3:17-cv-00561-WHO
     UBIQUITI DEFENDANTS’ ANSWER TO THIRD AMENDED COMPLAINT
     sf-3913552
      Case 3:17-cv-00561-WHO Document 221 Filed 06/21/18 Page 2 of 40



 1          Defendants Ubiquiti Networks, Inc. (“Ubiquiti”) and Ubiquiti Networks International

 2   Limited (“UNIL”) (collectively, “Ubiquiti Defendants”), by and through their undersigned

 3   counsel, answer the Third Amended Complaint (“the Complaint”) by Synopsys, Inc. (“Plaintiff”

 4   or “Synopsys”). If an averment is not specifically admitted, it is hereby denied.

 5                                               PARTIES

 6          1.      Ubiquiti Defendants lack knowledge and information sufficient to form a belief as

 7   to the truth of the allegations in paragraph 1, and therefore deny them.

 8          2.      Ubiquiti Defendants admit the allegations in paragraph 2.

 9          3.      Ubiquiti Defendants admit that Ubiquiti’s February 9, 2017 10-Q filing with the

10   U.S. Securities and Exchange Commission describes it and its wholly owned subsidiaries as

11   developing high performance networking technology for service providers and enterprises.

12          4.      Ubiquiti Defendants deny the allegations in paragraph 4.

13          5.      Ubiquiti Defendants admit that Ubiquiti’s February 9, 2017 10-Q filing with the

14   U.S. Securities and Exchange Commission states that certain of its operating expenses are

15   denominated in the currencies of the countries in which its operations are located, including the

16   Taiwan Dollar, and that Ubiquiti manages geographically dispersed research and development

17   operations in order to meet its objectives for new product introduction, product quality, and

18   product support. Except as expressly admitted, Ubiquiti Defendants deny the remaining

19   allegations in paragraph 5.

20          6.      Ubiquiti Defendants admit the allegations in paragraph 6.

21          7.      Ubiquiti Defendants admit that Ubiquiti’s February 9, 2017 10-Q filing with the

22   U.S. Securities and Exchange Commission names Robert J. Pera as Ubiquiti’s Chief Executive

23   Officer, Chairman of the Board, founder, and Chief Operating Decision Maker, and states that

24   Ubiquiti reports financial information on an aggregate and consolidated basis to Mr. Pera.

25   Ubiquiti Defendants deny that UNIL exports products. Ubiquiti Defendants deny the remaining

26   allegations in paragraph 7.

27          8.      Ubiquiti Defendants lack knowledge and information sufficient to form a belief as

28   to the truth of the allegations in paragraph 8, and therefore deny them.
                                                                                                         1
     CASE NO. 3:17-cv-00561-WHO
     UBIQUITI DEFENDANTS’ ANSWER TO THIRD AMENDED COMPLAINT
     sf-3913552
      Case 3:17-cv-00561-WHO Document 221 Filed 06/21/18 Page 3 of 40



 1          9.      Ubiquiti Defendants admit that UNIL has been working on the design of a single

 2   integrated circuit. Ubiquiti Defendants deny that the “ubnt.com” web domain is owned and

 3   controlled by Ubiquiti from California. Except as expressly admitted or denied, Ubiquiti

 4   Defendants lack knowledge and information sufficient to form a belief as to the truth of the

 5   remaining allegations in paragraph 9, and therefore deny them.

 6          10.     Ubiquiti Defendants deny that Defendant Tsai is employed by Ubiquiti. Ubiquiti

 7   Defendants admit that Ubiquiti previously employed Defendant Tsai as a Project Lead. Ubiquiti

 8   Defendants admit that Defendant Tsai testified that he is a citizen of the United States. Ubiquiti

 9   Defendants lack knowledge and information sufficient to form a belief as to the truth of the

10   allegations regarding Defendant Tsai’s domicile, and therefore deny them. Ubiquiti Defendants

11   deny the existence of a scheme giving rise to this action. Except as expressly admitted or denied,

12   Ubiquiti Defendants deny the remaining allegations in paragraph 10.

13          11.     Ubiquiti Defendants admit that Defendant Tsai’s LinkedIn profile states that he is

14   a semiconductor professional with extensive experience in the complete design cycle of complex

15   SOCs, and that from October 2013 to June 2018 he worked as a Project Lead for Ubiquiti in

16   Taipei, Taiwan.

17          12.     Ubiquiti Defendants deny the allegations in paragraph 12.

18          13.     Ubiquiti Defendants admit that the Complaint purports to identify Does 1 through

19   20 as Defendants in this action.

20                                      JURISDICTION AND VENUE

21          14.     Ubiquiti Defendants admit that the Complaint purports to assert claims arising

22   under the Digital Millennium Copyright Act, 17 U.S.C. §§ 1201 et seq., 18 U.S.C. § 2318, 18

23   U.S.C § 1962, and California common law, and purports to assert that this Court has subject

24   matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338(a).

25          15.     Ubiquiti Defendants admit that this Court has personal jurisdiction over Ubiquiti.

26   Except as expressly admitted, Ubiquiti Defendants deny the remaining allegations in paragraph

27   15.

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                                                                                                          2
     CASE NO. 3:17-cv-00561-WHO
     UBIQUITI DEFENDANTS’ ANSWER TO THIRD AMENDED COMPLAINT
     sf-3913552
      Case 3:17-cv-00561-WHO Document 221 Filed 06/21/18 Page 4 of 40



 1          16.      Ubiquiti Defendants deny that the Court has personal jurisdiction over UNIL or

 2   that UNIL expressly assented to personal jurisdiction in the Northern District of California for

 3   any disputes arising from its current and former employees’ alleged use of Synopsys’ file

 4   download website. Except as expressly admitted or denied, Ubiquiti Defendants lack knowledge

 5   and information sufficient to form a belief as to the truth of the remaining allegations in

 6   paragraph 16, and therefore deny them.

 7          17.      Ubiquiti Defendants lack knowledge and information sufficient to form a belief as

 8   to the truth of the allegations concerning where Plaintiff’s servers are located, and therefore deny

 9   them. Ubiquiti Defendants deny the remaining allegations in paragraph 17.

10          18.      Ubiquiti Defendants admit that UNIL has filed a lawsuit as a plaintiff in the

11   Northern District of California. Except as expressly admitted, Ubiquiti Defendants deny the

12   remaining allegations in paragraph 18.

13          19.      Ubiquiti Defendants admit that certain current and former UNIL employees have

14   traveled to California from time to time for both personal and business purposes. Except as

15   expressly admitted, Ubiquiti Defendants deny the remaining allegations in paragraph 19.

16          20.      Ubiquiti Defendants admit that Defendant Tsai testified that he has a house in San

17   Diego. Except as expressly admitted, Ubiquiti Defendants deny the remaining allegations in

18   paragraph 20.

19          21.      Ubiquiti Defendants admit that venue is proper in this district under 28 U.S.C.

20   §§ 1391 and 1400 with respect to Ubiquiti. Ubiquiti Defendants deny that venue is proper with

21   respect to UNIL. Except as expressly admitted or denied, Ubiquiti Defendants lack knowledge

22   and information sufficient to form a belief as to the truth of the remaining allegations in

23   paragraph 21, and therefore deny them.

24                                     FACTUAL ALLEGATIONS

25          22.      Ubiquiti Defendants lack knowledge and information sufficient to form a belief as

26   to the truth of the allegations in paragraph 22, and therefore deny them.

27          23.      Ubiquiti Defendants lack knowledge and information sufficient to form a belief as

28   to the truth of the allegations in paragraph 23, and therefore deny them.
                                                                                                        3
     CASE NO. 3:17-cv-00561-WHO
     UBIQUITI DEFENDANTS’ ANSWER TO THIRD AMENDED COMPLAINT
     sf-3913552
      Case 3:17-cv-00561-WHO Document 221 Filed 06/21/18 Page 5 of 40



 1           24.    Paragraph 24 relies on legal conclusions to which no response is required. To the

 2   extent that a response is required, Ubiquiti Defendants lack knowledge and information sufficient

 3   to form a belief as to the truth of the allegations in paragraph 24, and therefore deny them.

 4           25.    Ubiquiti Defendants lack knowledge and information sufficient to form a belief as

 5   to the truth of the allegations in paragraph 25, and therefore deny them.

 6           26.    Ubiquiti Defendants lack knowledge and information sufficient to form a belief as

 7   to the truth of the allegations in paragraph 26, and therefore deny them.

 8           27.    Ubiquiti Defendants deny the allegations in paragraph 27.

 9           28.    Ubiquiti Defendants admit that a third party identifying itself as IT Compliance

10   Association and purporting to act on Synopsys’ behalf contacted Ubiquiti in May 2016 regarding

11   purported unlicensed use of Synopsys’ software. Ubiquiti Defendants deny that they were aware

12   of 17 U.S.C. § 1201 before Ubiquiti was contacted by IT Compliance Association in 2016.

13   Ubiquiti Defendants deny that Ubiquiti Defendants’ corporate representatives acknowledged

14   under oath that Ubiquiti and UNIL employees knew they had no license to use Synopsys’

15   software. Ubiquiti Defendants lack knowledge and information sufficient to form a belief as to

16   the truth of the allegations regarding the purpose of any alleged unlicensed use of Synopsys

17   software by current and former Ubiquiti and UNIL employees, and therefore deny them. Except

18   as expressly admitted or denied, Ubiquiti Defendants lack knowledge and information sufficient

19   to form a belief as to the truth of the remaining allegations in paragraph 28, and therefore deny

20   them.

21           29.    Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

22   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

23   of their current or former employees. Ubiquiti Defendants lack knowledge and information

24   sufficient to form a belief as to the truth of the allegations regarding the purpose of any alleged

25   unlicensed use of Synopsys software by current and former Ubiquiti and UNIL employees, and

26   therefore deny them. Ubiquiti Defendants deny the remaining allegations in paragraph 29.

27           30.    Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

28   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any
                                                                                                           4
     CASE NO. 3:17-cv-00561-WHO
     UBIQUITI DEFENDANTS’ ANSWER TO THIRD AMENDED COMPLAINT
     sf-3913552
      Case 3:17-cv-00561-WHO Document 221 Filed 06/21/18 Page 6 of 40



 1   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in

 2   paragraph 30.

 3          31.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

 4   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

 5   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in

 6   paragraph 31.

 7          32.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

 8   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

 9   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in

10   paragraph 32.

11          33.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

12   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

13   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in

14   paragraph 33.

15          34.      Ubiquiti Defendants admit that Ubiquiti operates with a relatively flat reporting

16   structure that relies on individual contributors or small development teams to develop, test, and

17   obtain feedback for its products. Except as expressly admitted, Ubiquiti Defendants deny the

18   remaining allegations in paragraph 34.

19          35.      Ubiquiti Defendants admit that each Ubiquiti development team has a project lead

20   or leads with varying levels of oversight by others at Ubiquiti. Except as expressly admitted,

21   Ubiquiti Defendants deny the remaining allegations in paragraph 35.

22          36.      Ubiquiti Defendants admit that each UNIL development team has a project lead or

23   leads with varying levels of oversight by others at Ubiquiti. Except as expressly admitted,

24   Ubiquiti Defendants deny the remaining allegations in paragraph 36.

25          37.      Ubiquiti Defendants admit that Ubiquiti has had one or more of the following

26   executives since it was established in 2005, among others: Chief Executive Officer, Chief

27   Financial Officer, Chief Accounting Officer, Vice President of Legal Affairs, Vice President of

28   Business Development, and Vice President of Global Vendor Management. Ubiquiti Defendants
                                                                                                         5
     CASE NO. 3:17-cv-00561-WHO
     UBIQUITI DEFENDANTS’ ANSWER TO THIRD AMENDED COMPLAINT
     sf-3913552
      Case 3:17-cv-00561-WHO Document 221 Filed 06/21/18 Page 7 of 40



 1   admit that one or more of these Ubiquiti executives have at different times acted as executives of

 2   UNIL. Ubiquiti Defendants admit that Ubiquiti’s September 30, 2013 10-Q filing with the U.S.

 3   Securities and Exchange Commission references Ubiquiti’s “lean organizational structure.”

 4   Ubiquiti Defendants admit that to the extent that Ubiquiti executives have also acted as

 5   executives of UNIL, they have not been paid by UNIL for those services. Except as expressly

 6   admitted, Ubiquiti Defendants deny the remaining allegations in paragraph 37.

 7          38.     Ubiquiti Defendants deny the allegations in paragraph 38.

 8          39.     Ubiquiti Defendants admit that Ubiquiti’s Code of Business Conduct and Ethics as

 9   adopted November 2, 2010, designates Ubiquiti’s Chief Financial Officer as the Ethics Officer

10   with responsibility for overseeing and monitoring compliance with the Code, and provides that

11   the Ethics Officer reports directly to the Chief Executive Officer with respect to these matters.

12   Ubiquiti Defendants admit that Ubiquiti’s Code of Business Conduct and Ethics as adopted

13   November 2, 2010, provides that the Audit Committee will be responsible for investigating

14   violations and determining appropriate disciplinary action for matters involving members of the

15   Board of Directors or executive officers. Ubiquiti Defendants admit that Ubiquiti’s Code of

16   Business Conduct and Ethics in effect as of August 2013, designates Ubiquiti’s Chief Compliance

17   Officer as the Ethics Officer with responsibility for overseeing and monitoring compliance with

18   the Code, and provides that the Ethics Officer reports directly to the Chief Executive Officer and

19   Audit Committee with respect to these matters. Ubiquiti Defendants admit that Ubiquiti’s Code

20   of Business Conduct and Ethics in effect as of August 2013, provides that the Audit Committee

21   will be responsible for investigating violations and determining appropriate disciplinary action for

22   matters involving members of the Board of Directors or executive officers. Except as expressly

23   admitted, Ubiquiti Defendants deny the remaining allegations in paragraph 39.

24          40.     Ubiquiti Defendants admit that Ubiquiti provides its Code of Business Conduct

25   and Ethics in English. Ubiquiti Defendants lack knowledge and information sufficient to form a

26   belief as to the truth of the remaining allegations in paragraph 40, and therefore deny them.

27          42.     Ubiquiti Defendants deny the allegations in paragraph 41.

28          42.     Ubiquiti Defendants deny the allegations in paragraph 42.
                                                                                                          6
     CASE NO. 3:17-cv-00561-WHO
     UBIQUITI DEFENDANTS’ ANSWER TO THIRD AMENDED COMPLAINT
     sf-3913552
      Case 3:17-cv-00561-WHO Document 221 Filed 06/21/18 Page 8 of 40



 1          43.     Ubiquiti Defendants deny the allegations in paragraph 43.

 2          44.     Ubiquiti Defendants admit that in 2013, Defendant Tsai started discussions with

 3   Synopsys and other manufacturers of EDA software in connection with a new project to design an

 4   integrated circuit. Except as expressly admitted, Ubiquiti Defendants deny the remaining

 5   allegations in paragraph 44.

 6          45.     Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

 7   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

 8   of their current or former employees. Ubiquiti Defendants admit that Defendant Tsai testified

 9   that Robert Pera contacted him via LinkedIn regarding work on the AME project, and that

10   Defendant Tsai testified that they subsequently met in person at a Starbucks in San Jose. Except

11   as expressly admitted, Ubiquiti Defendants deny the remaining allegations in paragraph 45.

12          46.     Ubiquiti Defendants admit that Defendant Tsai was hired by Ubiquiti on

13   September 3, 2013. Ubiquiti Defendants admit that Defendant Tsai began recruiting others to

14   work on the AME project with him. Ubiquiti Defendants lack knowledge and information

15   sufficient to form a belief as to the truth of the allegations concerning what was known to

16   Defendant Tsai, and therefore deny them. Except as expressly admitted or denied, Ubiquiti

17   Defendants deny the remaining allegations in paragraph 46.

18          47.     Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

19   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

20   of their current or former employees. Ubiquiti Defendants deny that there was a piracy plan.

21   Ubiquiti Defendants deny the remaining allegations in paragraph 47.

22          48.     Ubiquiti Defendants deny that the referenced chat logs were not collected in the

23   course of ordinary document collection. Ubiquiti Defendants lack knowledge and information

24   sufficient to form a belief as to the truth of the allegations concerning interstate wires, and

25   therefore deny them. Ubiquiti Defendants lack knowledge and information sufficient to form a

26   belief as to the truth of the remaining allegations in paragraph 48, and therefore deny them.

27          49.     Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

28   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any
                                                                                                       7
     CASE NO. 3:17-cv-00561-WHO
     UBIQUITI DEFENDANTS’ ANSWER TO THIRD AMENDED COMPLAINT
     sf-3913552
      Case 3:17-cv-00561-WHO Document 221 Filed 06/21/18 Page 9 of 40



 1   of their current or former employees. Ubiquiti Defendants deny that Defendant Tsai, acting on

 2   behalf of a piracy enterprise, communicated with Synopsys employees on or about September 11,

 3   2013 or September 12, 2013. Ubiquiti Defendants deny that there was a piracy plan. Ubiquiti

 4   Defendants lack knowledge and information sufficient to form a belief as to the truth of the

 5   allegations concerning statements made by Defendant Tsai to Synopsys, and therefore deny them.

 6   Ubiquiti Defendants lack knowledge and information sufficient to form a belief as to the truth of

 7   the remaining allegations in paragraph 49, and therefore deny them.

 8          50.     Ubiquiti Defendants lack knowledge and information sufficient to form a belief as

 9   to the truth of the allegations in paragraph 50, and therefore deny them.

10          51.     Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

11   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

12   of their current or former employees. Ubiquiti Defendants deny that Defendant Tsai, acting on

13   behalf of a piracy enterprise, communicated with Synopsys employees on or about September 30,

14   2013. Ubiquiti Defendants deny that there was a piracy plan. Ubiquiti Defendants lack

15   knowledge and information sufficient to form a belief as to the truth of the allegations concerning

16   statements made by Defendant Tsai to Synopsys, and therefore deny them. Ubiquiti Defendants

17   lack knowledge and information sufficient to form a belief as to the truth of the remaining

18   allegations in paragraph 51, and therefore deny them.

19          52.     Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

20   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

21   of their current or former employees. Ubiquiti Defendants deny that Defendant Tsai, acting on

22   behalf of a piracy enterprise, communicated with Synopsys employees on or about October 1,

23   2013. Ubiquiti Defendants lack knowledge and information sufficient to form a belief as to the

24   truth of the allegations concerning statements made by Defendant Tsai to Synopsys, and therefore

25   deny them. Ubiquiti Defendants admit that on September 12, 2013, Defendant Tsai sent an email

26   to Mr. Pera noting that “Synopsys provides global WAN based licenses.” Except as expressly

27   admitted or denied, Ubiquiti Defendants deny the remaining allegations in paragraph 52.

28
                                                                                                         8
     CASE NO. 3:17-cv-00561-WHO
     UBIQUITI DEFENDANTS’ ANSWER TO THIRD AMENDED COMPLAINT
     sf-3913552
     Case 3:17-cv-00561-WHO Document 221 Filed 06/21/18 Page 10 of 40



 1          53.     Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

 2   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

 3   of their current or former employees. Ubiquiti Defendants deny that Defendant Tsai, acting on

 4   behalf of a piracy enterprise, communicated with Synopsys employees on or about October 14,

 5   2013. Ubiquiti Defendants lack knowledge and information sufficient to form a belief as to the

 6   truth of the allegations concerning statements made by Defendant Tsai to Synopsys, and therefore

 7   deny them.

 8          54.     Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

 9   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

10   of their current or former employees. Ubiquiti Defendants deny that Defendant Tsai, acting on

11   behalf of a piracy enterprise, communicated with Synopsys employees on or about October 14,

12   2013. Ubiquiti Defendants lack knowledge and information sufficient to form a belief as to the

13   truth of the allegations concerning statements made by Defendant Tsai to Synopsys, and therefore

14   deny them.

15          55.     Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

16   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

17   of their current or former employees. Ubiquiti Defendants lack knowledge and information

18   sufficient to form a belief as to the truth of the allegations concerning interstate wires and

19   computers used in interstate commerce, and therefore deny them. Ubiquiti Defendants admit that

20   Defendant Tsai and Yang engaged in a personal chat message conversation on or about October

21   15, 2013, on their personal Skype accounts, but deny that Defendant Tsai and Yang discussed a

22   plan on behalf of Ubiquiti and UNIL. Ubiquiti Defendants deny that Defendant Tsai and Yang

23   were authorized to make such decisions on behalf of Ubiquiti or UNIL. To the extent that

24   Defendant Tsai and Yang did discuss using piracy to save money or using counterfeit keys, such

25   personal discussions conducted on personal Skype accounts were outside the scope of Defendant

26   Tsai’s and Yang’s employment by Ubiquiti Defendants, and the discussions did not take place on

27   behalf of Ubiquiti or UNIL. Except as expressly admitted or denied, Ubiquiti Defendants deny

28   the remaining allegations in paragraph 55.
                                                                                                      9
     CASE NO. 3:17-cv-00561-WHO
     UBIQUITI DEFENDANTS’ ANSWER TO THIRD AMENDED COMPLAINT
     sf-3913552
     Case 3:17-cv-00561-WHO Document 221 Filed 06/21/18 Page 11 of 40



 1          56.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

 2   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

 3   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in

 4   paragraph 56.

 5          57.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

 6   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

 7   of their current or former employees. Ubiquiti Defendants admit that on October 15, 2013,

 8   Defendant Tsai sent an email to William Bergman stating “I’ll be travelling to Taipei tonight.”

 9   Ubiquiti Defendants deny that Defendant Tsai acted on behalf of a piracy enterprise. Ubiquiti

10   Defendants lack knowledge and information sufficient to form a belief as to the truth of the

11   allegations concerning statements made by Defendant Tsai to Synopsys, and therefore deny them.

12   Ubiquiti Defendants admit that Ubiquiti and Plaintiff entered into a Master Non-Disclosure

13   Agreement, the purpose of which was to facilitate the parties’ discussions of a potential business

14   relationship, and that Ubiquiti executed that agreement on October 15, 2013, and a Disclosure

15   Supplement Statement on November 15, 2013, and that Plaintiff executed both the Master Non-

16   Disclosure Agreement and Disclosure Supplement Statement on November 25, 2013. Except as

17   expressly admitted or denied, Ubiquiti Defendants deny the remaining allegations in paragraph 57.

18          58.      Ubiquiti Defendants admit that from time to time Defendant Tsai reported to Pera

19   and other executives and managers on the status of his work at Ubiquiti. Ubiquiti Defendants

20   lack knowledge and information sufficient to form a belief as to the truth of the allegations

21   concerning Defendant Tsai’s negotiations with EDA providers in the U.S. and Taiwan, and

22   therefore deny them. Except as expressly admitted or denied, Ubiquiti Defendants deny the

23   remaining allegations in paragraph 58.

24          59.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

25   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

26   of their current or former employees. Ubiquiti Defendants deny that Defendant Tsai, acting on

27   behalf of a piracy enterprise, communicated with Synopsys employees from October 14, 2013, to

28   November 25, 2013. Ubiquiti Defendants deny that Ubiquiti or UNIL gave any current or former
                                                                                                       10
     CASE NO. 3:17-cv-00561-WHO
     UBIQUITI DEFENDANTS’ ANSWER TO THIRD AMENDED COMPLAINT
     sf-3913552
     Case 3:17-cv-00561-WHO Document 221 Filed 06/21/18 Page 12 of 40



 1   employees raises for delivering on the AME project on a timely basis. Ubiquiti Defendants admit

 2   that Defendant Tsai and Yang had personal chat message conversations in November 2013 on

 3   their personal Skype accounts, but deny that Defendant Tsai and Yang discussed the use of

 4   unlicensed software on behalf of Ubiquiti and UNIL. Ubiquiti Defendants deny that any conduct

 5   of Defendant Tsai or Yang involving the use of unlicensed software reduced Ubiquiti’s and

 6   UNIL’s development costs and development time. Ubiquiti Defendants lack knowledge and

 7   information sufficient to form a belief as to the truth of the allegations concerning the intent of

 8   Defendant Tsai and Yang’s conduct, and therefore deny them. Except as expressly admitted or

 9   denied, Ubiquiti Defendants deny the remaining allegations in paragraph 60.

10          60.     Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

11   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

12   of their current or former employees. Ubiquiti Defendants lack knowledge and information

13   sufficient to form a belief as to the truth of the allegations concerning statements made or omitted

14   by Defendant Tsai to Synopsys, and therefore deny them. Ubiquiti Defendants admit that on

15   November 26, 2013, Ubiquiti and Plaintiff entered into an agreement for the evaluation of

16   Plaintiff’s VCS application. Except as expressly admitted, Ubiquiti Defendants deny the

17   remaining allegations in paragraph 60.

18          61.     Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

19   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

20   of their current or former employees. Ubiquiti Defendants lack knowledge and information

21   sufficient to form a belief as to the truth of the allegations concerning statements made by

22   Defendant Tsai to Synopsys, and therefore deny them. Ubiquiti Defendants deny that any

23   persons acting on behalf of a piracy enterprise began using counterfeit license keys to access any

24   copies of VCS from any source. Ubiquiti Defendants deny that they were part of any piracy

25   enterprise that made or distributed unauthorized copies of Synopsys’ software or documentation,

26   accessed Synopsys’ software, or provided software and other technology components designed to

27   circumvent technical measures that control access to Synopsys’ software to anyone. Ubiquiti

28   Defendants deny the remaining allegations in paragraph 61.
                                                                                                           11
     CASE NO. 3:17-cv-00561-WHO
     UBIQUITI DEFENDANTS’ ANSWER TO THIRD AMENDED COMPLAINT
     sf-3913552
     Case 3:17-cv-00561-WHO Document 221 Filed 06/21/18 Page 13 of 40



 1          62.     Ubiquiti Defendants admit that on November 26, 2013, Plaintiff and Ubiquiti

 2   executed a 90-day evaluation license for Ubiquiti to evaluate Plaintiff’s VCS application and that

 3   an employee of Plaintiff sent to Defendant Tsai’s Ubiquiti email account a link to download the

 4   VCS application. Ubiquiti Defendants deny that an employee sent to Defendant Tsai’s Ubiquiti

 5   email account a link to download a license key and Ubiquiti Defendants deny that the license key

 6   delivered to Defendant Tsai’s Ubiquiti email account on December 3, 2013, limited use of the

 7   license key or VCS application to “two computers concurrently in San Jose.” In response to the

 8   remaining allegations, Ubiquiti Defendants respond that to the extent Plaintiff is quoting from the

 9   November 26, 2013, evaluation agreement, that document speaks for itself. To the extent that

10   Plaintiff is not quoting from that document, the remaining allegations rely on legal conclusions to

11   which no response is required. To the extent that a response is required, Ubiquiti Defendants lack

12   knowledge and information sufficient to form a belief as to the truth of the remaining allegations

13   in paragraph 62, and therefore deny them.

14          63.     Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

15   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

16   of their current or former employees. Ubiquiti Defendants admit that Defendant Tsai was

17   provided login credentials to permit him access to Plaintiff’s customer support and download

18   websites for the purposes of facilitating evaluation of VCS. Ubiquiti Defendants deny that they

19   were members of any piracy enterprise that accessed any of Synopsys’ websites. Except as

20   expressly admitted or denied, Ubiquiti Defendants lack knowledge and information sufficient to

21   form a belief as to the truth of the allegations concerning the domains on which Plaintiff’s

22   websites reside, and where those domains are registered, hosted, or maintained, and therefore

23   deny them.

24          64.     Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

25   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

26   of their current or former employees. Ubiquiti Defendants deny that Defendant Tsai, acting on

27   behalf of a piracy enterprise, accessed Synopsys’ file download website or downloaded any files

28   from that website. Except as expressly denied, Ubiquiti Defendants lack knowledge and
                                                                                                      12
     CASE NO. 3:17-cv-00561-WHO
     UBIQUITI DEFENDANTS’ ANSWER TO THIRD AMENDED COMPLAINT
     sf-3913552
     Case 3:17-cv-00561-WHO Document 221 Filed 06/21/18 Page 14 of 40



 1   information sufficient to form a belief as to the truth of the remaining allegations in paragraph 64,

 2   and therefore deny them.

 3          65.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

 4   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

 5   of their current or former employees. Ubiquiti Defendants deny that Defendant Tsai, acting on

 6   behalf of a piracy enterprise, communicated with any current or former UNIL employee on

 7   November 28, 2013. Ubiquiti Defendants lack knowledge and information sufficient to form a

 8   belief as to the truth of the allegations concerning interstate wires and computers used in interstate

 9   commerce, and therefore deny them. Ubiquiti Defendants admit that a document collected from

10   one of Defendant Tsai’s computers and produced in this case is a Skype chat to which Defendant

11   Tsai was a party through his personal Skype account. Ubiquiti Defendants admit that in that chat,

12   Defendant Tsai and others had a personal discussion that included the words “don’t talk about

13   cracking software using company email,” but deny that this discussion took place on behalf of

14   Ubiquiti or UNIL. Defendants deny the remaining allegations in paragraph 65.

15          66.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

16   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

17   of their current or former employees. Ubiquiti Defendants deny that Defendant Tsai, acting on

18   behalf of a piracy enterprise, communicated with any Synopsys employee on December 2, 2013.

19   Ubiquiti Defendants deny the remaining allegations in paragraph 66.

20          67.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

21   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

22   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in

23   paragraph 67.

24          68.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

25   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

26   of their current or former employees. Ubiquiti Defendants deny that Defendant Tsai, or any other

27   persons, acting on behalf of a piracy enterprise communicated with a current or former UNIL

28   employee on December 4, 2013. Ubiquiti Defendants admit that a document collected from one
                                                                                                        13
     CASE NO. 3:17-cv-00561-WHO
     UBIQUITI DEFENDANTS’ ANSWER TO THIRD AMENDED COMPLAINT
     sf-3913552
     Case 3:17-cv-00561-WHO Document 221 Filed 06/21/18 Page 15 of 40



 1   of Defendant Tsai’s computers and produced in this case is a personal Skype chat to which

 2   Defendant Tsai was a party. Ubiquiti Defendants admit that in this chat conducted on Defendant

 3   Tsai’s personal Skype account, Defendant Tsai and others had a personal discussion that included

 4   the words “alternative” and “massive regressions”. Ubiquiti Defendants deny that this discussion

 5   took place on behalf of Ubiquiti or UNIL. Ubiquiti Defendants lack knowledge and information

 6   sufficient to form a belief as to the truth of the allegations concerning interstate wires and

 7   computers used in interstate commerce, and therefore deny them. Except as expressly admitted

 8   or denied, Ubiquiti Defendants deny the remaining allegations in paragraph 68.

 9          69.     Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

10   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

11   of their current or former employees. Ubiquiti Defendants deny that from November 27, 2013, to

12   December 28, 2013, Defendant Tsai or any current or former Ubiquiti or UNIL employees, acting

13   on behalf of a piracy enterprise, accessed Synopsys’s file download website. Ubiquiti Defendants

14   deny that any current or former Ubiquiti or UNIL employees downloaded files from Synopsys’

15   file download website on behalf of a piracy enterprise involving Ubiquiti Defendants. Ubiquiti

16   Defendants deny that Ubiquiti and UNIL engaged in the copying, creation, distribution, and use

17   of counterfeit software, counterfeit license keys, and other circumvention technology. Ubiquiti

18   Defendants admit that Defendant Tsai downloaded certain files from Synopsys’s file download

19   website. Ubiquiti Defendants lack knowledge and information sufficient to form a belief as to the

20   truth of the allegations regarding the purpose of any alleged unlicensed use of Synopsys software

21   by current or former Ubiquiti and UNIL employees, and therefore deny them. Ubiquiti

22   Defendants lack knowledge and information sufficient to form a belief as to the truth of the

23   remaining allegations in paragraph 69, and therefore deny them.

24          70.     Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

25   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

26   of their current or former employees. Ubiquiti Defendants lack knowledge and information

27   sufficient to form a belief as to the truth of the allegations concerning interstate wires and

28
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     CASE NO. 3:17-cv-00561-WHO
     UBIQUITI DEFENDANTS’ ANSWER TO THIRD AMENDED COMPLAINT
     sf-3913552
     Case 3:17-cv-00561-WHO Document 221 Filed 06/21/18 Page 16 of 40



 1   computers used in interstate commerce, and therefore deny them. Ubiquiti Defendants deny the

 2   remaining allegations in paragraph 70.

 3          71.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

 4   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

 5   of their current or former employees. Ubiquiti Defendants admit that in or about mid-December

 6   2013, Defendant Tsai, Andre Lee, and Josh Huang traveled to the United States. Except as

 7   expressly admitted or denied, Ubiquiti Defendants deny the remaining allegations in paragraph 71.

 8          72.      Ubiquiti Defendants admit that on or about January 1, 2014, Defendant Tsai, I-

 9   Feng Lin, and Sheng-Feng Wang traveled to Barrington, Illinois. Except as expressly admitted,

10   Ubiquiti Defendants deny the remaining allegations in paragraph 72.

11          73.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

12   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

13   of their current or former employees. Ubiquiti Defendants lack knowledge and information

14   sufficient to form a belief as to the truth of the allegations concerning interstate wires and

15   computers used in interstate commerce, and therefore deny them. Ubiquiti defendants lack

16   knowledge and information sufficient to form a belief as to the truth of the remaining allegations

17   in paragraph 73, and therefore deny them.

18          74.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

19   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

20   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in

21   paragraph 74.

22          75.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

23   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

24   of their current or former employees. Ubiquiti Defendants deny that Defendant Tsai, acting on

25   behalf of a piracy enterprise, communicated with any Synopsys employees during the first and

26   second weeks of March 2014. Ubiquiti Defendants lack knowledge and information sufficient to

27   form a belief as to the truth of the allegations concerning statements made by Defendant Tsai to

28
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     CASE NO. 3:17-cv-00561-WHO
     UBIQUITI DEFENDANTS’ ANSWER TO THIRD AMENDED COMPLAINT
     sf-3913552
     Case 3:17-cv-00561-WHO Document 221 Filed 06/21/18 Page 17 of 40



 1   Synopsys, and therefore deny them. Ubiquiti Defendants deny the remaining allegations in

 2   paragraph 75.

 3          76.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

 4   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

 5   of their current or former employees. Ubiquiti Defendants deny that Defendant Tsai, acting on

 6   behalf of a piracy enterprise involving Ubiquiti Defendants, communicated with any Synopsys

 7   employees during the first and second weeks of April 2014. Ubiquiti Defendants deny that

 8   Defendant Tsai or anyone else acting on behalf of a piracy enterprise involving Ubiquiti

 9   Defendants made any representations to Synopsys during a meeting on or about April 8, 2014.

10   Ubiquiti Defendants lack knowledge and information sufficient to form a belief as to the truth of

11   the allegations concerning statements made by Defendant Tsai or any current or former UNIL

12   employees to Synopsys, and therefore deny them. Ubiquiti Defendants deny the remaining

13   allegations in paragraph 76.

14          77.      Ubiquiti Defendants deny the allegations in paragraph 77.

15          78.      Ubiquiti Defendants admit that on or around April 14, 2014, a Synopsys employee

16   emailed a license key for Plaintiff’s DC Ultra, Formality, HDL Compiler Verilog, and

17   DesignWare Library applications, along with related installation and/or license control tools, to a

18   UNIL employee and Defendant Tsai. Ubiquiti Defendants admit that on or around May 8, 2014,

19   a Synopsys employee emailed to a UNIL employee and Defendant Tsai, a license key for the

20   Power Compiler application. Except as expressly admitted, Ubiquiti Defendants lack knowledge

21   and information sufficient to form a belief as to the truth of the remaining allegations in

22   paragraph 78, and therefore deny them.

23          79.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

24   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

25   of their current or former employees. Ubiquiti Defendants deny that anyone acting on behalf of a

26   piracy enterprise involving Ubiquiti Defendants downloaded any documents or files from

27   Plaintiff’s electronic file transfer website. Except as expressly denied, Ubiquiti Defendants lack

28
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     CASE NO. 3:17-cv-00561-WHO
     UBIQUITI DEFENDANTS’ ANSWER TO THIRD AMENDED COMPLAINT
     sf-3913552
     Case 3:17-cv-00561-WHO Document 221 Filed 06/21/18 Page 18 of 40



 1   knowledge and information sufficient to form a belief as to the truth of the remaining allegations

 2   in paragraph 53, and therefore deny them.

 3          80.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

 4   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

 5   of their current or former employees. Ubiquiti Defendants deny that anyone acting on behalf of a

 6   piracy enterprise involving Ubiquiti Defendants began using counterfeit license keys to access

 7   Design Compiler software downloaded by UNIL. Ubiquiti Defendants deny the remaining

 8   allegations in paragraph 80.

 9          81.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

10   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

11   of their current or former employees. Ubiquiti Defendants deny that anyone acting on behalf of a

12   piracy enterprise involving Ubiquiti Defendants contacted Synopsys’ customer support via email

13   on May 19, 2014. Ubiquiti Defendants deny the remaining allegations in paragraph 81.

14          82.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

15   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

16   of their current or former employees. Ubiquiti Defendants deny that anyone acting on behalf of a

17   piracy enterprise involving Ubiquiti Defendants accessed Synopsys’ customer support and file

18   download websites, or made, distributed, or used copies of Synopsys’ software or documentation.

19   Ubiquiti Defendants deny the remaining allegations in paragraph 82.

20          83.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

21   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

22   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in

23   paragraph 83.

24          84.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

25   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

26   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in

27   paragraph 84.

28
                                                                                                      17
     CASE NO. 3:17-cv-00561-WHO
     UBIQUITI DEFENDANTS’ ANSWER TO THIRD AMENDED COMPLAINT
     sf-3913552
     Case 3:17-cv-00561-WHO Document 221 Filed 06/21/18 Page 19 of 40



 1           85.     Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

 2   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

 3   of their current or former employees. Ubiquiti Defendants lack knowledge and information

 4   sufficient to form a belief as to the truth of allegations in paragraph 85 pertaining to unidentified

 5   “[d]ata,” and therefore deny them. Ubiquiti Defendants deny that any piracy enterprise involving

 6   Ubiquiti Defendants set up a network of computers for the purpose of accessing keys or copies of

 7   Plaintiff’s software. Ubiquiti Defendants deny the remaining allegations in paragraph 85.

 8           86.     Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

 9   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

10   of their current or former employees. Ubiquiti Defendants lack knowledge and information

11   sufficient to form a belief as to the truth of the allegations in paragraph 86 that relate to the

12   “[d]ata” referred to in Paragraph 85, and therefore deny them. Ubiquiti Defendants deny that any

13   piracy enterprise involving Ubiquiti Defendants configured computers for the purpose of running

14   unauthorized copies of Plaintiff’s software or placing counterfeit license key files on a host

15   server. Ubiquiti Defendants deny the remaining allegations in paragraph 86.

16           87.     Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

17   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

18   of their current or former employees. Ubiquiti Defendants lack knowledge and information

19   sufficient to form a belief as to the truth of the allegations in paragraph 87 that relate to the

20   “[d]ata” referred to in Paragraph 85, and therefore deny them. Ubiquiti Defendants deny that any

21   piracy enterprise involving Ubiquiti Defendants employed stored counterfeit license key files at

22   file paths located on Ubiquiti or UNIL networks. Ubiquiti Defendants deny the remaining

23   allegations in paragraph 87.

24           88.     Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

25   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

26   of their current or former employees. Ubiquiti Defendants lack knowledge and information

27   sufficient to form a belief as to the truth of the allegations in paragraph 88 that relate to the

28   “[d]ata” referred to in Paragraph 85, and therefore deny them. Ubiquiti Defendants deny that any
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     CASE NO. 3:17-cv-00561-WHO
     UBIQUITI DEFENDANTS’ ANSWER TO THIRD AMENDED COMPLAINT
     sf-3913552
     Case 3:17-cv-00561-WHO Document 221 Filed 06/21/18 Page 20 of 40



 1   piracy enterprise involving Ubiquiti Defendants configured computers to make Plaintiff’s

 2   software or counterfeit license keys accessible from a virtual machine. Ubiquiti Defendants deny

 3   the remaining allegations in paragraph 88.

 4           89.     Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

 5   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

 6   of their current or former employees. Ubiquiti Defendants lack knowledge and information

 7   sufficient to form a belief as to the truth of the allegations in paragraph 89 that relate to the

 8   “[d]ata” referred to in Paragraph 85, and therefore deny them. Ubiquiti Defendants deny that any

 9   piracy enterprise involving Ubiquiti Defendants distributed or used counterfeit license keys, illicit

10   license keys, counterfeit access devices, or circumvention technology to access any of Plaintiff’s

11   software. Ubiquiti Defendants deny the remaining allegations in paragraph 89.

12           90.     Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

13   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

14   of their current or former employees. Ubiquiti Defendants lack knowledge and information

15   sufficient to form a belief as to the truth of the allegations in paragraph 90 that relate to the

16   “[d]ata” referred to in Paragraph 85, and therefore deny them. Ubiquiti Defendants deny that any

17   piracy enterprise involving Ubiquiti Defendants made use of counterfeit license keys for

18   Plaintiff’s software. Ubiquiti Defendants deny the remaining allegations in paragraph 90.

19           91.     Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

20   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

21   of their current or former employees. Ubiquiti Defendants admit that a third party identifying

22   itself as IT Compliance Association and purporting to act on Synopsys’ behalf contacted Ubiquiti

23   in May 2016 regarding purported unlicensed use of Synopsys’ software and that it demanded that

24   Ubiquiti “cease and desist unauthorized use of [Plaintiff’s] software.” Ubiquiti Defendants lack

25   knowledge and information sufficient to form a belief as to the truth of the allegations concerning

26   actions taken by Plaintiff, and therefore deny them. The remaining allegations in Paragraph 91

27   rely on legal conclusions to which no response is required. To the extent that a response is

28
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     CASE NO. 3:17-cv-00561-WHO
     UBIQUITI DEFENDANTS’ ANSWER TO THIRD AMENDED COMPLAINT
     sf-3913552
     Case 3:17-cv-00561-WHO Document 221 Filed 06/21/18 Page 21 of 40



 1   required, Ubiquiti Defendants lack knowledge and information sufficient to form a belief as to the

 2   truth of the remaining allegations in paragraph 91, and therefore deny them.

 3          92.     Ubiquiti Defendants admit that a third party identifying itself as IT Compliance

 4   Association and purporting to act on Synopsys’ behalf contacted Ubiquiti in May 2016 regarding

 5   purported unlicensed use of Synopsys’ software. Ubiquiti Defendants deny that the ITCA letter

 6   warned Ubiquiti of impending legal action, deny that the ITCA letter created an obligation for

 7   Ubiquiti to preserve evidence, and deny that the ITCA letter was an infringement notice. Ubiquiti

 8   Defendants deny that Ubiquiti Defendants or anyone at Ubiquiti or UNIL violated the Ubiquiti

 9   Code of Business Conduct and Ethics following receipt of the ITCA letter. Ubiquiti Defendants

10   deny that there were executive-level omissions that would require investigation by the Ubiquiti

11   Audit Committee. Except as expressly admitted or denied, Ubiquiti Defendants deny the

12   remaining allegations in paragraph 92.

13          93.     Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

14   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

15   of their current or former employees. Ubiquiti Defendants lack knowledge and information

16   sufficient to form a belief as to the truth of the allegations concerning interstate wires and

17   computers used in interstate commerce, and therefore deny them. Ubiquiti Defendants deny that

18   the ITCA letter was forwarded only to Defendant Tsai. Ubiquiti Defendants admit that Defendant

19   Tsai forwarded an email with the letter to Andre Lee, James Lian, and Josh Huang. Ubiquiti

20   Defendants deny that Defendant Tsai forwarded the email to any members of a piracy enterprise

21   involving Ubiquiti Defendants. Ubiquiti Defendants lack knowledge and information sufficient

22   to form a belief as to the truth of the allegations concerning the actions taken by Defendant Tsai,

23   Lee, Huang, and Lian, and therefore deny them. Except as expressly admitted or denied, Ubiquiti

24   Defendants deny the remaining allegations in paragraph 93.

25          94.     Ubiquiti Defendants deny the allegations in paragraph 94.

26          95.     Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

27   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

28
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     CASE NO. 3:17-cv-00561-WHO
     UBIQUITI DEFENDANTS’ ANSWER TO THIRD AMENDED COMPLAINT
     sf-3913552
     Case 3:17-cv-00561-WHO Document 221 Filed 06/21/18 Page 22 of 40



 1   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in

 2   paragraph 95.

 3          96.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

 4   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

 5   of their current or former employees. Ubiquiti Defendants admit that no report was warranted or

 6   made to Ubiquiti’s Audit Committee concerning allegations made by Synopsys. Except as

 7   expressly admitted or denied, Ubiquiti Defendants deny the remaining allegations in paragraph

 8   96.

 9          97.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

10   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

11   of their current or former employees. Ubiquiti Defendants lack knowledge and information

12   sufficient to form a belief as to the truth of the allegations concerning interstate wires and

13   computers used in interstate commerce, and therefore deny them. Ubiquiti Defendants admit that

14   Sheng-Feng Wang testified that Defendant Tsai twice loaded a virtual machine with Synopsys

15   software on one of his computers. Except as expressly admitted or denied, Ubiquiti Defendants

16   deny the remaining allegations in paragraph 97.

17          98.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

18   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

19   of their current or former employees. Ubiquiti Defendants admit that Defendant Tsai declared

20   under oath that he spent at least forty hours investigating Synopsys’ surveillance and intrusions,

21   including reviewing the system log files and reconfiguring the firewall programs on all the

22   servers, and monitoring the outbound network traffic over the course of at least a month, and that

23   other employees of Ubiquiti and UNIL spent at least one hundred hours engaged in similar

24   investigatory activities. Ubiquiti Defendants lack knowledge and information sufficient to form a

25   belief as to the truth of Defendant Tsai’s statements in his declaration. Ubiquiti Defendants deny

26   that Defendant Tsai, acting on behalf of a piracy enterprise involving Ubiquiti Defendants,

27   provided instructions to UNIL and Ubiquiti. Ubiquiti Defendants lack knowledge and

28   information sufficient to form a belief as to the truth of the allegations concerning what files
                                                                                                        21
     CASE NO. 3:17-cv-00561-WHO
     UBIQUITI DEFENDANTS’ ANSWER TO THIRD AMENDED COMPLAINT
     sf-3913552
     Case 3:17-cv-00561-WHO Document 221 Filed 06/21/18 Page 23 of 40



 1   and/or data, if any, Defendant Tsai or any other Ubiquiti or UNIL employees undertook to delete,

 2   and therefore deny them. Except as expressly admitted or denied, Ubiquiti Defendants deny the

 3   remaining allegations in paragraph 98.

 4          99.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

 5   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

 6   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in

 7   paragraph 99.

 8          100.     Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

 9   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

10   of their current or former employees. Ubiquiti Defendants deny that any persons acting on behalf

11   of a piracy enterprise involving Ubiquiti Defendants used Synopsys’s software to perform work

12   for UNIL or Ubiquiti. Ubiquiti Defendants deny that there was a piracy enterprise meeting.

13   Ubiquiti Defendants deny that Ubiquiti or UNIL gave any current or former employees raises for

14   delivering on the AME project on a timely basis. Except as expressly denied, Ubiquiti

15   Defendants deny the remaining allegations in paragraph 100.

16          101.     Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

17   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

18   of their current or former employees. Ubiquiti Defendants deny that anyone at Ubiquiti or UNIL

19   pirated software in furtherance of their work for Ubiquiti and UNIL. Ubiquiti Defendants lack

20   knowledge and information sufficient to form a belief as to the truth of the remaining allegations

21   in paragraph 101, and therefore deny them.

22          102.     Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

23   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

24   of their current or former employees. Ubiquiti Defendants deny that any persons acting on behalf

25   of a piracy enterprise involving Ubiquiti Defendants used Synopsys’s software to perform work

26   for UNIL or Ubiquiti. Ubiquiti Defendants deny that there was use of unlicensed Synopsys

27   software by anyone at Ubiquiti or UNIL after June 2016. Ubiquiti Defendants deny that the

28   Ubiquiti AirFiber 5xHD contains an ASIC designed by a piracy enterprise.
                                                                                                      22
     CASE NO. 3:17-cv-00561-WHO
     UBIQUITI DEFENDANTS’ ANSWER TO THIRD AMENDED COMPLAINT
     sf-3913552
     Case 3:17-cv-00561-WHO Document 221 Filed 06/21/18 Page 24 of 40



 1          103.      Ubiquiti Defendants admit that Ubiquiti commenced an investigation of ITCA’s

 2   allegations in May 2016 and that that investigation ended in or about August 2016. Ubiquiti

 3   Defendants admit that Ubiquiti commenced further investigations after the complaint was filed,

 4   and during the course of the lawsuit. Ubiquiti Defendants deny that the only remedial action

 5   Ubiquiti and UNIL took was to send an email to UNIL and Ubiquiti employees. Ubiquiti

 6   Defendants deny that the investigations and the email were shams. Except as expressly admitted

 7   or denied, Ubiquiti Defendants deny the remaining allegations in paragraph 103.

 8          104.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

 9   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

10   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in

11   paragraph 104.

12          105.      Ubiquiti Defendants deny the allegations in paragraph 105.

13          106.      Ubiquiti Defendants deny the allegations in paragraph 106.

14          107.      Ubiquiti Defendants deny that they anticipated the prospect of litigation after

15   receiving the May 2016 ITCA letter. Ubiquiti Defendants deny that they had any obligation to

16   collect or preserve evidence after receipt of the May 2016 ITCA letter. Except as expressly

17   denied, Ubiquiti Defendants deny the remaining allegations in paragraph 107.

18          108.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

19   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

20   of their current or former employees. Ubiquiti Defendants deny that there was use of unlicensed

21   Synopsys software by any current or former employees of Ubiquiti or UNIL after June 2016.

22   Ubiquiti Defendants deny that they had any obligation to preserve evidence prior to February

23   2017. Except as expressly denied, Ubiquiti Defendants deny the remaining allegations in

24   paragraph 108.

25          109.      Ubiquiti Defendants deny the allegations in paragraph 109.

26          110.      Ubiquiti Defendants admit that Synopsys served its first set of requests for

27   production of documents and tangible things from Ubiquiti Defendants on May 12, 2017. Except

28   as expressly admitted, Ubiquiti Defendants deny the remaining allegations in paragraph 110.
                                                                                                        23
     CASE NO. 3:17-cv-00561-WHO
     UBIQUITI DEFENDANTS’ ANSWER TO THIRD AMENDED COMPLAINT
     sf-3913552
     Case 3:17-cv-00561-WHO Document 221 Filed 06/21/18 Page 25 of 40



 1          111.      Ubiquiti Defendants deny the allegations in paragraph 111.

 2          112.      Ubiquiti Defendants deny the allegations in paragraph 112.

 3          113.      Ubiquiti Defendants admit that on September 8, 2017, Synopsys served a forensic

 4   inspection request purporting to identify various UNIL and Ubiquiti computers by MAC address,

 5   known IP addresses, and usernames. Except as expressly admitted, Ubiquiti Defendants deny the

 6   remaining allegations in paragraph 113.

 7          114.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

 8   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

 9   of their current or former employees. Ubiquiti Defendants admit that in a hearing before Judge

10   Beeler on January 25, 2018, counsel for Ubiquiti and UNIL told the Court that “[Synopsys]

11   software does not operate on a Windows environment or on a Mac environment. So there is no

12   reason they need to look at any of the individual computers that use Mac and Windows as their

13   operating environment.” Ubiquiti Defendants admit that Ubiquiti submitted sworn declarations to

14   the Court. Except as expressly admitted or denied, Ubiquiti Defendants deny the remaining

15   allegations in paragraph 114.

16          115.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

17   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

18   of their current or former employees. Ubiquiti Defendants admit that in an order issued on

19   December 22, 2017, U.S. Magistrate Judge Laurel Beeler ordered Ubiquiti Defendants to meet

20   and confer with Synopsys regarding an inspection protocol. Except as expressly admitted or

21   denied, Ubiquiti Defendants deny the remaining allegations in paragraph 115.

22          116.      Ubiquiti Defendants deny the allegations in paragraph 116.

23          117.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

24   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

25   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in

26   paragraph 117.

27          118.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

28   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any
                                                                                                      24
     CASE NO. 3:17-cv-00561-WHO
     UBIQUITI DEFENDANTS’ ANSWER TO THIRD AMENDED COMPLAINT
     sf-3913552
     Case 3:17-cv-00561-WHO Document 221 Filed 06/21/18 Page 26 of 40



 1   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in

 2   paragraph 118.

 3          119.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

 4   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

 5   of their current or former employees. Ubiquiti Defendants deny that Judge Beeler held an

 6   emergency hearing. Ubiquiti Defendants deny the remaining allegations in paragraph 119.

 7          120.      Ubiquiti Defendants lack knowledge and information sufficient to form a belief as

 8   to the truth of the allegations concerning forensic discovery, and therefore deny them. Ubiquiti

 9   Defendants deny that Ubiquiti Defendants knew or should have known about Defendant Tsai’s

10   additional devices by the date of Defendant Tsai’s deposition. Ubiquiti Defendants deny that

11   Ubiquiti Defendants or their outside counsel did not make any effort to collect Defendant Tsai’s

12   devices. Ubiquiti Defendants deny the remaining allegations in paragraph 120.

13          121.      Ubiquiti Defendants deny the existence of a pattern of deliberate, calculated, and

14   coordinated spoliation.

15                    a.     Ubiquiti Defendants admit that Defendant Tsai used a software program

16          called CCleaner on an external drive, but do not know what files or data, if any, were

17          deleted as a result of the use of CCleaner. Ubiquiti Defendants lack knowledge and

18          information sufficient to form a belief as to the truth of the remaining allegations in

19          paragraph 121(a), and therefore deny them.

20                    b.     Ubiquiti Defendants admit that Sheng-Feng Wang’s work-issued devices

21          and a personal external hard drive were imaged in January 2018. Ubiquiti Defendants

22          admit that Wang’s personal external hard drive contained copies of video files when it

23          was imaged in January 2018. Ubiquiti Defendants deny that Wang’s computer contained

24          virtual machines that appeared to contain deleted Synopsys files. Ubiquiti Defendants

25          lack knowledge and information sufficient to form a belief as to the truth of the remaining

26          allegations in paragraph 121(b), and therefore deny them.

27                    c.     Ubiquiti Defendants admit that Chi-Hsueh Huang ran CCleaner twice in

28          March 2018, but do not know what files or data, if any, were deleted as a result of the use
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     CASE NO. 3:17-cv-00561-WHO
     UBIQUITI DEFENDANTS’ ANSWER TO THIRD AMENDED COMPLAINT
     sf-3913552
     Case 3:17-cv-00561-WHO Document 221 Filed 06/21/18 Page 27 of 40



 1          of CCleaner. Ubiquiti Defendants lack knowledge and information sufficient to form a

 2          belief as to the truth of the remaining allegations in paragraph 121(c), and therefore deny

 3          them.

 4                  d.     Ubiquiti Defendants admit that the Recycle Bin on James Lian’s external

 5          hard drive contained files that had the word “Synopsys” in them, but lack information and

 6          knowledge sufficient to form a belief as to why the files were in the Recycle Bin and why

 7          Lian had the files on his external drive. Ubiquiti Defendants lack knowledge and

 8          information sufficient to form a belief as to the truth of the remaining allegations in

 9          paragraph 121(d), and therefore deny them.

10                  e.     Ubiquiti Defendants admit that Ya-Chau Yang’s computer contained signs

11          that he had used AVG File Shredder as well as CCleaner, but do not know what files or

12          data, if any, were deleted as a result of the use of CCleaner or AVG File Shredder.

13          Ubiquiti Defendants lack knowledge and information sufficient to form a belief as to the

14          truth of the remaining allegations in paragraph 121(e), and therefore deny them.

15                  f.     Ubiquiti Defendants lack knowledge and information sufficient to form a

16          belief as to the truth of the allegations in paragraph 121(f), and therefore deny them.

17                  g.     Ubiquiti Defendants admit that Chang-Ching Yan used CCleaner in March

18          2018, but do not know what files or data, if any, were deleted as a result of the use of

19          CCleaner. Ubiquiti Defendants lack knowledge and information sufficient to form a

20          belief as to the truth of the remaining allegations in paragraph 121(g), and therefore deny

21          them.

22                  h.     Ubiquiti Defendants deny that there was evidence of suspicious deletion of

23          files on Hua-Lin Hsu’s computer. Ubiquiti Defendants admit that in February 2018, Hsu

24          deleted a Google chat and a Skype chat that had been previously collected in this case.

25                  i.     Ubiquiti Defendants deny that Judge Beeler held an emergency hearing.

26          Ubiquiti Defendants lack knowledge and information sufficient to form a belief as to the

27          truth of the remaining allegations in paragraph 121(i), and therefore deny them.

28
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     CASE NO. 3:17-cv-00561-WHO
     UBIQUITI DEFENDANTS’ ANSWER TO THIRD AMENDED COMPLAINT
     sf-3913552
     Case 3:17-cv-00561-WHO Document 221 Filed 06/21/18 Page 28 of 40



 1          122.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

 2   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

 3   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in

 4   paragraph 122.

 5          123.      Ubiquiti Defendants admit that Defendant Tsai provided sworn answers to

 6   interrogatories and made sworn declarations that were filed with this Court. Ubiquiti Defendants

 7   admit that Defendant Tsai invoked his Fifth Amendment privilege at his deposition. Ubiquiti

 8   Defendants admit that two additional devices were disclosed during Defendant Tsai’s deposition

 9   and that Ubiquiti temporarily took custody of the devices during the deposition, delivered the

10   devices to Epiq, a forensic consultant, and asked that forensic images of the devices be

11   made. Epiq provided the two devices and images of them to Defendant Tsai’s counsel. Ubiquiti

12   Defendants lack knowledge and information sufficient to form a belief as to the truth of the

13   allegations concerning further forensic examination, and therefore deny them. Except as

14   expressly admitted or denied, Ubiquiti Defendants deny the remaining allegations in paragraph

15   123.

16                                     FIRST CLAIM FOR RELIEF

17                               (Against All Defendants for Violation of the
                         Digital Millennium Copyright Act, 17 U.S.C. § 1201(a)(1))
18

19          124.      Ubiquiti Defendants repeat and incorporate by reference their responses to
20   paragraphs 1 through 123 of the Complaint as if fully set forth herein.
21          125.      Paragraph 125 relies on legal conclusions to which no response is required. To the
22   extent that a response is required, Ubiquiti Defendants lack knowledge and information sufficient
23   to form a belief as to the truth of the allegations in paragraph 125, and therefore deny them.
24          126.      Paragraph 126 relies on legal conclusions to which no response is required. To the
25   extent that a response is required, Ubiquiti Defendants lack knowledge and information sufficient
26   to form a belief as to the truth of the allegations in paragraph 126, and therefore deny them.
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     CASE NO. 3:17-cv-00561-WHO
     UBIQUITI DEFENDANTS’ ANSWER TO THIRD AMENDED COMPLAINT
     sf-3913552
     Case 3:17-cv-00561-WHO Document 221 Filed 06/21/18 Page 29 of 40



 1          127.      Ubiquiti Defendants lack knowledge and information sufficient to form a belief as

 2   to the truth of the allegations in paragraph 127, and therefore deny them.

 3          128.      Paragraph 128 relies on legal conclusions to which no response is required. To the

 4   extent that a response is required, Ubiquiti Defendants lack knowledge and information sufficient

 5   to form a belief as to the truth of the allegations in paragraph 128, and therefore deny them.

 6          129.      Paragraph 129 relies on legal conclusions to which no response is required. To the

 7   extent that a response is required, Ubiquiti Defendants deny that Ubiquiti and UNIL were or are

 8   members of a piracy enterprise. Ubiquiti Defendants deny having any knowledge of a piracy

 9   enterprise involving any of their current or former employees. Ubiquiti Defendants lack

10   knowledge and information sufficient to form a belief as to the truth of the remaining allegations

11   in paragraph 129, and therefore deny them.

12          130.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

13   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

14   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in

15   paragraph 130.

16          131.      Ubiquiti Defendants deny the allegations in paragraph 131.

17          132.      Ubiquiti Defendants deny the allegations in paragraph 132.

18          133.      Ubiquiti Defendants deny the allegations in paragraph 133.

19          134.      Ubiquiti Defendants deny the allegations in paragraph 134.

20                                    SECOND CLAIM FOR RELIEF

21   (Against All Defendants for Violations of the Digital Millennium Copyright Act, 17 U.S.C. §
                                             1201(a)(2))
22

23          135.      Ubiquiti Defendants repeat and incorporate by reference their responses to
24   paragraphs 1 through 134 of the Complaint as if fully set forth herein.
25          136.      Paragraph 136 relies on legal conclusions to which no response is required. To the
26   extent that a response is required, Ubiquiti Defendants lack knowledge and information sufficient
27   to form a belief as to the truth of the allegations in paragraph 136, and therefore deny them.
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     CASE NO. 3:17-cv-00561-WHO
     UBIQUITI DEFENDANTS’ ANSWER TO THIRD AMENDED COMPLAINT
     sf-3913552
     Case 3:17-cv-00561-WHO Document 221 Filed 06/21/18 Page 30 of 40



 1          137.      Ubiquiti Defendants deny the allegations in paragraph 137.

 2          138.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

 3   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

 4   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in

 5   paragraph 138.

 6          139.      Ubiquiti Defendants deny the allegations in paragraph 139.

 7          140.      Ubiquiti Defendants deny the allegations in paragraph 140.

 8          141.      Ubiquiti Defendants deny the allegations in paragraph 141.

 9          142.      Ubiquiti Defendants deny the allegations in paragraph 142.

10                                     THIRD CLAIM FOR RELIEF

11   (Against All Defendants for Violations of the Digital Millennium Copyright Act, 17 U.S.C. §
                                               1201(b))
12

13          143.      Ubiquiti Defendants repeat and incorporate by reference their responses to
14   paragraphs 1 through 142 of the Complaint as if fully set forth herein.
15          144.      Paragraph 144 relies on legal conclusions to which no response is required. To the
16   extent that a response is required, Ubiquiti Defendants lack knowledge and information sufficient
17   to form a belief as to the truth of the allegations in paragraph 144, and therefore deny them.
18          145.      Ubiquiti Defendants deny the allegations in paragraph 145.
19          146.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy
20   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any
21   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in
22   paragraph 146.
23          147.      Ubiquiti Defendants deny the allegations in paragraph 147.
24          148.      Ubiquiti Defendants deny the allegations in paragraph 148.
25          149.      Ubiquiti Defendants deny the allegations in paragraph 149.
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     CASE NO. 3:17-cv-00561-WHO
     UBIQUITI DEFENDANTS’ ANSWER TO THIRD AMENDED COMPLAINT
     sf-3913552
     Case 3:17-cv-00561-WHO Document 221 Filed 06/21/18 Page 31 of 40



 1                                   FOURTH CLAIM FOR RELIEF

 2                     (Against All Defendants for Violations of 18 U.S.C. § 2318)

 3          150.    Ubiquiti Defendants repeat and incorporate by reference their responses to

 4   paragraphs 1 through 149 of the Complaint as if fully set forth herein.

 5          151.    Paragraph 151 relies on legal conclusions to which no response is required. To the

 6   extent that a response is required, Ubiquiti Defendants lack knowledge and information sufficient

 7   to form a belief as to the truth of the allegations in paragraph 151, and therefore deny them.

 8          152.    Ubiquiti Defendants lack knowledge and information sufficient to form a belief as

 9   to the truth of the allegations in paragraph 152, and therefore deny them.

10          153.    Ubiquiti Defendants lack knowledge and information sufficient to form a belief as

11   to the truth of the allegations in paragraph 153, and therefore deny them.

12          154.    Ubiquiti Defendants lack knowledge and information sufficient to form a belief as

13   to the truth of the allegations in paragraph 154, and therefore deny them.

14          155.    Ubiquiti Defendants lack knowledge and information sufficient to form a belief as

15   to the truth of the allegations in paragraph 155, and therefore deny them.

16          156.    Ubiquiti Defendants lack knowledge and information sufficient to form a belief as

17   to the truth of the allegations in paragraph 156, and therefore deny them.

18          157.    Ubiquiti Defendants lack knowledge and information sufficient to form a belief as

19   to the truth of the allegations in paragraph 157, and therefore deny them.

20          158.    Ubiquiti Defendants lack knowledge and information sufficient to form a belief as

21   to the truth of the remaining allegations in paragraph 158, and therefore deny them.

22          159.    Ubiquiti Defendants lack knowledge and information sufficient to form a belief as

23   to the truth of the allegations in paragraph 159, and therefore deny them.

24          160.    Ubiquiti Defendants deny the allegations in paragraph 160.

25          161.    Ubiquiti Defendants deny the allegations in paragraph 161.

26          162.    Ubiquiti Defendants deny the allegations in paragraph 162.

27          163.    Ubiquiti Defendants deny the allegations in paragraph 163.

28
                                                                                                      30
     CASE NO. 3:17-cv-00561-WHO
     UBIQUITI DEFENDANTS’ ANSWER TO THIRD AMENDED COMPLAINT
     sf-3913552
     Case 3:17-cv-00561-WHO Document 221 Filed 06/21/18 Page 32 of 40



 1          164.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

 2   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

 3   of their current or former employees. Ubiquiti Defendants admit that in a declaration of May 1,

 4   2017 (Dkt. No. 50-1), Shen-Feng Wang stated that “[w]hile present in California, I never received

 5   any transmission from any UNIL employee containing unauthorized license keys or unauthorized

 6   copies of Synopsys’ software.” Except as expressly admitted or denied, Ubiquiti Defendants

 7   deny the remaining allegations in paragraph 164.

 8          165.      Ubiquiti Defendants deny the allegations in paragraph 165.

 9          166.      Ubiquiti Defendants deny the allegations in paragraph 166.

10          167.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

11   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

12   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in

13   paragraph 167.

14          168.      Ubiquiti Defendants deny the allegations in paragraph 168.

15          169.      Ubiquiti Defendants deny the allegations in paragraph 169.

16          170.      Ubiquiti Defendants deny the allegations in paragraph 170.

17                                     FIFTH CLAIM FOR RELIEF

18                                   (Against All Defendants for Fraud)

19          171.      Ubiquiti Defendants repeat and incorporate by reference their responses to

20   paragraphs 1 through 170 of the Complaint as if fully set forth herein.

21          172.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

22   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

23   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in

24   paragraph 172.

25          173.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

26   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

27   of their current or former employees. Except as expressly denied, Ubiquiti Defendants deny the

28   remaining allegations in paragraph 173.
                                                                                                   31
     CASE NO. 3:17-cv-00561-WHO
     UBIQUITI DEFENDANTS’ ANSWER TO THIRD AMENDED COMPLAINT
     sf-3913552
     Case 3:17-cv-00561-WHO Document 221 Filed 06/21/18 Page 33 of 40



 1          174.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

 2   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

 3   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in

 4   paragraph 174.

 5          175.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

 6   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

 7   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in

 8   paragraph 175.

 9          176.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

10   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

11   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in

12   paragraph 176.

13          177.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

14   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

15   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in

16   paragraph 177.

17          178.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

18   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

19   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in

20   paragraph 178.

21          179.      Ubiquiti Defendants deny the allegations in paragraph 179.

22                                     SIXTH CLAIM FOR RELIEF

23                  (Against All Defendants for Civil RICO, 18 U.S.C. 1964(c) & (d)

24          180.      Ubiquiti Defendants repeat and incorporate by reference their responses to

25   paragraphs 1 through 179 of the Complaint as if fully set forth herein.

26          181.      Paragraph 181 relies on legal conclusions to which no response is required. To the

27   extent that a response is required, Ubiquiti Defendants lack knowledge and information sufficient

28   to form a belief as to the truth of the allegations in paragraph 181, and therefore deny them.
                                                                                                      32
     CASE NO. 3:17-cv-00561-WHO
     UBIQUITI DEFENDANTS’ ANSWER TO THIRD AMENDED COMPLAINT
     sf-3913552
     Case 3:17-cv-00561-WHO Document 221 Filed 06/21/18 Page 34 of 40



 1          182.      Paragraph 182 relies on legal conclusions to which no response is required. To the

 2   extent that a response is required, Ubiquiti Defendants lack knowledge and information sufficient

 3   to form a belief as to the truth of the allegations in paragraph 182, and therefore deny them.

 4          183.      Paragraph 183 relies on legal conclusions to which no response is required. To the

 5   extent that a response is required, Ubiquiti Defendants lack knowledge and information sufficient

 6   to form a belief as to the truth of the allegations in paragraph 183, and therefore deny them.

 7          184.      Ubiquiti Defendants admit that Ubiquiti is an entity organized under the laws of

 8   the State of Delaware. The remaining allegations in paragraph 184 rely on legal conclusions to

 9   which no response is required. To the extent that a response is required, Ubiquiti Defendants lack

10   knowledge and information sufficient to form a belief as to the truth of the remaining allegations

11   in paragraph 184, and therefore deny them.

12          185.      Ubiquiti Defendants admit that UNIL is an entity organized under the laws of

13   Hong Kong. The remaining allegations in paragraph 185 rely on legal conclusions to which no

14   response is required. To the extent that a response is required, Ubiquiti Defendants lack

15   knowledge and information sufficient to form a belief as to the truth of the remaining allegations

16   in paragraph 185, and therefore deny them.

17          186.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

18   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

19   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in

20   paragraph 186.

21          187.      Ubiquiti Defendants deny the allegations in paragraph 187.

22          188.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

23   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

24   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in

25   paragraph 188.

26          189.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

27   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

28
                                                                                                         33
     CASE NO. 3:17-cv-00561-WHO
     UBIQUITI DEFENDANTS’ ANSWER TO THIRD AMENDED COMPLAINT
     sf-3913552
     Case 3:17-cv-00561-WHO Document 221 Filed 06/21/18 Page 35 of 40



 1   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in

 2   paragraph 189.

 3          190.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

 4   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

 5   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in

 6   paragraph 190.

 7          191.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

 8   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

 9   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in

10   paragraph 191.

11          192.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

12   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

13   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in

14   paragraph 192.

15          193.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

16   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

17   of their current or former employees. Ubiquiti Defendants lack knowledge and information

18   sufficient to form a belief as to the truth of the allegations concerning interstate wires and

19   computers used in interstate commerce, and therefore deny them. Ubiquiti Defendants deny that

20   Defendant Tsai and Yang, acting on behalf of a piracy enterprise involving Ubiquiti Defendants,

21   communicated on or about October 15, 2013. Ubiquiti Defendants admit that a document

22   collected from one of Defendant Tsai’s computers and produced in this case is a chat to which

23   Defendant Tsai was a party through his personal Skype account. Ubiquiti Defendants admit that

24   in that personal Skype chat, Defendant Tsai and others had a personal discussion that included the

25   words “save money,” “move quickly,” “police escorting me out of the office,” and “general legal

26   counsel,” but deny that this discussion on Defendant Tsai’s personal Skype account took place on

27   behalf of Ubiquiti or UNIL. Except as expressly admitted or denied, Ubiquiti Defendants deny

28   the remaining allegations in paragraph 193.
                                                                                                      34
     CASE NO. 3:17-cv-00561-WHO
     UBIQUITI DEFENDANTS’ ANSWER TO THIRD AMENDED COMPLAINT
     sf-3913552
     Case 3:17-cv-00561-WHO Document 221 Filed 06/21/18 Page 36 of 40



 1          194.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

 2   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

 3   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in

 4   paragraph 194.

 5          195.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

 6   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

 7   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in

 8   paragraph 195.

 9          196.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

10   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

11   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in

12   paragraph 196.

13          197.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

14   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

15   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in

16   paragraph 197.

17          198.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

18   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

19   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in

20   paragraph 198.

21          199.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

22   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

23   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in

24   paragraph 199.

25          200.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

26   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

27   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in

28   paragraph 200.
                                                                                                   35
     CASE NO. 3:17-cv-00561-WHO
     UBIQUITI DEFENDANTS’ ANSWER TO THIRD AMENDED COMPLAINT
     sf-3913552
     Case 3:17-cv-00561-WHO Document 221 Filed 06/21/18 Page 37 of 40



 1          201.      Ubiquiti Defendants lack knowledge and information sufficient to form a belief as

 2   to the truth of the allegations in paragraph 201, and therefore deny them.

 3          202.      Ubiquiti Defendants admit that they have not paid money into one of Plaintiff’s

 4   flexible spending accounts. Except as expressly admitted, Ubiquiti Defendants lack knowledge

 5   and information sufficient to form a belief as to the truth of the remaining allegations in

 6   paragraph 202, and therefore deny them.

 7          203.      Ubiquiti Defendants deny the allegations in paragraph 203 with respect to the

 8   Ubiquiti Defendants. Ubiquiti Defendants lack knowledge and information sufficient to form a

 9   belief as to the truth of the allegations concerning Defendant Tsai in paragraph 203, and therefore

10   deny them.

11          204.      Paragraph 204 relies on legal conclusions to which no response is required. To the

12   extent that a response is required, Ubiquiti Defendants deny the allegations in paragraph 204 with

13   respect to the Ubiquiti Defendants. Ubiquiti Defendants lack knowledge and information

14   sufficient to form a belief as to the truth of the allegations concerning Defendant Tsai in

15   paragraph 204, and therefore deny them.

16          205.      Ubiquiti Defendants deny the allegations in paragraph 205.

17          206.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

18   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

19   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in

20   paragraph 206.

21          207.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

22   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

23   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in

24   paragraph 207.

25          208.      Ubiquiti Defendants deny the allegations in paragraph 208.

26          209.      Ubiquiti Defendants deny the allegations in paragraph 209.

27          210.      Ubiquiti Defendants deny the allegations in paragraph 210.

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     CASE NO. 3:17-cv-00561-WHO
     UBIQUITI DEFENDANTS’ ANSWER TO THIRD AMENDED COMPLAINT
     sf-3913552
     Case 3:17-cv-00561-WHO Document 221 Filed 06/21/18 Page 38 of 40



 1                                   SEVENTH CLAIM FOR RELIEF

 2                       (Against All Defendants for Negligent Misrepresentation)

 3          211.      Ubiquiti Defendants repeat and incorporate by reference their responses to

 4   paragraphs 1 through 210 of the Complaint as if fully set forth herein.

 5          212.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

 6   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

 7   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in

 8   paragraph 212.

 9          213.      Ubiquiti Defendants deny that Ubiquiti and UNIL were or are members of a piracy

10   enterprise. Ubiquiti Defendants deny having any knowledge of a piracy enterprise involving any

11   of their current or former employees. Ubiquiti Defendants deny the remaining allegations in

12   paragraph 213.

13          214.      Ubiquiti Defendants deny the allegations in paragraph 214.

14          215.      Ubiquiti Defendants deny the allegations in paragraph 215.

15          216.      Ubiquiti Defendants lack knowledge and information sufficient to form a belief as

16   to the truth of the allegations in paragraph 216 concerning actions taken by Plaintiff, and

17   therefore deny them. Ubiquiti Defendants deny the remaining allegations in paragraph 216.

18                                        PRAYER FOR RELIEF

19          Ubiquiti Defendants deny that Plaintiff is entitled to any relief.

20                                      AFFIRMATIVE DEFENSES

21          Ubiquiti Defendants assert the following affirmative defenses to the Complaint and

22   incorporate by reference the allegations in UNIL’s Counterclaims and Ubiquiti’s Amended

23   Counterclaims in support of such defenses.

24                                        First Affirmative Defense

25          Plaintiff’s claims are barred by the doctrine of laches because Plaintiff inexcusably

26   delayed asserting claims against Ubiquiti Defendants. Namely, Plaintiff became aware of the

27   facts that purportedly form the basis of the claims against Ubiquiti as early as late 2013 or early

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     CASE NO. 3:17-cv-00561-WHO
     UBIQUITI DEFENDANTS’ ANSWER TO THIRD AMENDED COMPLAINT
     sf-3913552
     Case 3:17-cv-00561-WHO Document 221 Filed 06/21/18 Page 39 of 40



 1   2014, and yet Plaintiff waited until February 3, 2017 to file a complaint against Ubiquiti

 2   Defendants.

 3                                       Second Affirmative Defense

 4          Plaintiff’s claims are barred by the doctrine of unclean hands because Plaintiff, through

 5   fraudulent misrepresentations regarding its confidentiality obligations that Ubiquiti Defendants

 6   relied on in proceeding to evaluate Plaintiff's software, obtained Ubiquiti Defendants’

 7   confidential, proprietary information without Ubiquiti Defendants’ knowledge and dealt unjustly

 8   in the activity that it now complains of. Furthermore, Plaintiff, rather than inform Ubiquiti

 9   Defendants immediately upon learning of alleged unauthorized uses via spyware, purposefully

10   delayed filing the complaint against Ubiquiti Defendants for three years so that it could enlarge

11   the time period over which Plaintiff could claim damages under its asserted claims.

12                                       Third Affirmative Defense

13          Plaintiff’s claims are barred by the doctrine of waiver because Plaintiff’s conduct

14   subsequent to the evaluation agreement shows Plaintiff knowingly relinquished any right to seek

15   timely relief for the alleged acts. Namely, by waiting three years to file a complaint against

16   Ubiquiti Defendants, Plaintiff demonstrated an intentional relinquishment of those rights with

17   knowledge of those rights and an intent to relinquish them.

18                                       Fourth Affirmative Defense

19          Plaintiff is barred from recovery of damages because Ubiquiti Defendants were not aware

20   and had no reason to believe that the alleged acts constituted violations of 17 U.S.C. § 1201 when

21   Synopsys entered into a valid evaluation license agreement with Ubiquiti that permitted access to

22   Synopsys’ software.

23                                        Fifth Affirmative Defense

24          Plaintiff is barred from recovery of damages because it failed to take reasonable steps to

25   mitigate its actual damages or statutory damages per alleged act of circumvention. Namely,

26   Plaintiff became aware of the facts that purportedly form the basis of the claims against Ubiquiti

27   Defendants as early as late 2013 or early 2014, and yet Plaintiff waited until May 2016 to take

28   efforts reasonably available to it to mitigate its harm.
                                                                                                         38
     CASE NO. 3:17-cv-00561-WHO
     UBIQUITI DEFENDANTS’ ANSWER TO THIRD AMENDED COMPLAINT
     sf-3913552
     Case 3:17-cv-00561-WHO Document 221 Filed 06/21/18 Page 40 of 40



 1                                       Sixth Affirmative Defense

 2          Plaintiff is barred from recovery of damages because it acquiesced to Ubiquiti

 3   Defendant’s use of its software. Namely, Plaintiff became aware of the facts that purportedly

 4   form the basis of the claims against Ubiquiti Defendants as early as late 2013 or early 2014, and

 5   yet Plaintiff waited until May 2016 to contact Ubiquiti regarding Ubiquiti’s alleged use of its

 6   software.

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     Dated: June 21, 2018                          JENNIFER LEE TAYLOR
10                                                 RICH S.J. HUNG
                                                   JOYCE LIOU
11                                                 AMANDA D. PHILLIPS
                                                   MORRISON & FOERSTER LLP
12

13                                                 By:    /s/ Jennifer Lee Taylor
                                                          JENNIFER LEE TAYLOR
14
                                                          Attorneys for Ubiquiti
15                                                        Defendants/Counterclaimants
                                                          UBIQUITI NETWORKS, INC.,
16                                                        UBIQUITI NETWORKS and
                                                          INTERNATIONAL LIMITED
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     CASE NO. 3:17-cv-00561-WHO
     UBIQUITI DEFENDANTS’ ANSWER TO THIRD AMENDED COMPLAINT
     sf-3913552
